         Case 3:21-cv-03234-EMC Document 37 Filed 01/18/22 Page 1 of 1




                                    OFFICE OF THE CLERK
                              UNITED STATES DISTRICT COURT
                                  Northern District of California

                                         CIVIL MINUTES
 Date: January 18, 2022             Time: 3:04-3:10=                 Judge: EDWARD M. CHEN
                                          6 Minutes

Case No.: 3:21-cv-03234-EMC                Case Name: Merante v. American Institute for
                                    Foreign Study, Inc.

Attorneys for Plaintiff: Peter Rukin and Clara Coleman
Attorney for Defendant: Robert Tucker
 Deputy Clerk: Vicky Ayala                               Court Reporter: Belle Ball


                        PROCEEDINGS HELD BY ZOOM WEBINAR
Status Conference
                                            SUMMARY
Parties stated appearances.

Defendant intends to move for a stay. Parties agreed to meet and confer regarding a partial stay
which will allow some discovery to continue. The Court ordered the parties to meet and confer to
reach a stipulation for a partial stay. If the parties are unable to reach an agreement; defendant will
file their motion.

Parties have a Settlement Conference with Judge Spero on February 9, 2022. Plaintiff will not file
a motion to remand.

Court set a Status Conference for July 12, 2022, at 2:30 p.m. Joint Status Report due by July
5, 2022.
